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                                      13   Attorneys for Plaintiff,
                                      14   Diane Kubat
                                      15                          UNITED STATES DISTRICT COURT
                                      16                         CENTRAL DISTRICT OF CALIFORNIA
                                      17   DIANE KUBAT, INDIVIDUALLY               Case No.:
                                           AND ON BEHALF OF ALL
                                      18   OTHERS SIMILARLY                        CLASS ACTION
                                           SITUATED,
                                      19                                           COMPLAINT FOR DAMAGES
                                      20                Plaintiff,                 AND INJUNCTIVE RELIEF FOR
                                                                                   VIOLATION OF:
                                      21                    v.
                                      22                                              1.) THE FAIR DEBT
                                           OLIVER ADJUSTMENT                              COLLECTION PRACTICES
                                      23   COMPANY, INC.,                                 ACT, 15 U.S.C. §§ 1692, ET
                                                                                          SEQ.; AND,
                                      24                Defendant.                    2.) THE ROSENTHAL FAIR
                                      25                                                  DEBT COLLECTION
                                                                                          PRACTICES ACT, CAL. CIV.
                                      26                                                  CODE §§ 1788, ET SEQ.

                                      27                                           JURY TRIAL DEMANDED
                                      28

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                                      1                                      INTRODUCTION
                                      2       1. The United States Congress has found abundant evidence of the use of
                                      3          abusive, deceptive, and unfair debt collection practices by many debt
                                      4          collectors, and has determined that abusive debt collection practices
                                      5          contribute to the number of personal bankruptcies, to marital instability, to
                                      6          the loss of jobs, and to invasions of individual privacy. Congress wrote the
                                      7          Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq, to eliminate
                                      8          abusive debt collection practices by debt collectors, to insure that those debt
                                      9          collectors who refrain from using abusive debt collection practices are not
                                      10         competitively disadvantaged, and to promote consistent State action to
                                      11         protect consumers against debt collection abuses.
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                                      12      2. The California legislature has determined that the banking and credit system
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                                      13         and grantors of credit to consumers are dependent upon the collection of just
                                      14         and owing debts and that unfair or deceptive collection practices undermine
                                      15         the public confidence that is essential to the continued functioning of the
                                      16         banking and credit system and sound extensions of credit to consumers. The
                                      17         Legislature has further determined that there is a need to ensure that debt
                                      18         collectors exercise this responsibility with fairness, honesty and due regard
                                      19         for the debtor’s rights and that debt collectors must be prohibited from
                                      20         engaging in unfair or deceptive acts or practices.
                                      21      3. DIANE KUBAT (“Plaintiff”) brings this Class Action Complaint for
                                      22         damages, injunctive relief, and any other available legal or equitable
                                      23         remedies, resulting from the illegal actions of OLIVER ADJUSTMENT
                                      24         COMPANY, INC. (“Defendant”) with regard to attempts by Defendant to
                                      25         unlawfully and abusively collect an debt allegedly owed by the Plaintiff, in
                                      26         violation of Federal and California State debt collection laws.
                                      27
                                      28

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                                      1       4. Plaintiff alleges as follows upon personal knowledge as to herself and her
                                      2          own acts and experiences, and, as to all other matters, upon information and
                                      3          belief, including investigation conducted by their attorneys.
                                      4       5. Plaintiff makes these allegations on information and belief, with the
                                      5          exception of those allegations that pertain to a plaintiff, or to a plaintiff's
                                      6          counsel, which Plaintiff allege on personal knowledge.
                                      7       6. While many violations are described below with specificity, this Complaint
                                      8          alleges violations of the statutes cited in their entirety.
                                      9       7. Unless otherwise stated, Plaintiff alleges that any violations by Defendant
                                      10         were knowing and intentional, and that Defendant did not maintain
                                      11         procedures reasonably adapted to avoid any such violation.
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                                      12      8. Unless otherwise indicated, the use of any Defendant’s name in this
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                                      13         Complaint includes all agents, employees, officers, members, directors,
                                      14         heirs,   successors,   assigns,   principals,    trustees,    sureties,   subrogees,
                                      15         representatives, and insurers of that Defendant named.
                                      16                                JURISDICTION AND VENUE
                                      17      9. Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                      18         1692k and 28 U.S.C. § 1367 for supplemental state claims.
                                      19      10. This action arises out of Defendant’s violations of (i) the Fair Debt
                                      20         Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”); and, (ii) the
                                      21         Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788, et seq.
                                      22         (“RFDCPA”).
                                      23      11. Because Defendant conducts business within the State of California,
                                      24         personal jurisdiction is established.
                                      25      12. Venue is proper in the United States District Court, Central District of
                                      26         California pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                      27         Plaintiff resides in the County of San Luis Obispo, State of California which
                                      28         is within this judicial district; (ii) the conduct complained of herein occurred


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                                      1             within this judicial district; and, (iii) Defendant conducted business within
                                      2             this judicial district at all times relevant.
                                      3                                                 PARTIES
                                      4          13. Plaintiff is a natural person who resides in the City of Cambria, County of
                                      5             San Luis Obispo, State of California, from whom a debt collector sought to
                                      6             collect a consumer debt which was due and owing or alleged to be due and
                                      7             owing from Plaintiff, and is a “debtor” as that term is defined by California
                                      8             Civil Code § 1788.2(h). In addition, Plaintiff is a “consumer” as that term is
                                      9             defined by 15 U.S.C. § 1692a(3).
                                      10         14. Plaintiff is informed and believes, and thereon alleges, that Defendant is a
                                      11            California company operating from the State of Wisconsin.
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                                      12         15. Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
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                                      13            ordinary course of business, regularly, on behalf of itself, engages in debt
                                      14            collection as that term is defined by California Civil Code § 1788.2(b), and
                                      15            is therefore a “debt collector” as that term is defined by California Civil
                                      16            Code § 1788.2(c).
                                      17         16. This case involves money, property or their equivalent, due or owing or
                                      18            alleged to be due or owing from a natural person by reason of a consumer
                                      19            credit transaction. As such, this action arises out of a “consumer debt” and
                                      20            “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                      21                                     FACTUAL ALLEGATIONS
                                      22         17. At all times relevant, Plaintiff is an individual residing within the State of
                                      23            California and within this judicial district.
                                      24         18. At all times relevant, Defendant conducted business in the State of
                                      25            California.
                                      26         19. Sometime prior to September 2014, Plaintiff allegedly incurred financial
                                      27            obligations to the original creditor for medical services.
                                      28   ///


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                                      1          20. These alleged finance obligations were money, property, or their equivalent,
                                      2             which is due or owing, or alleged to be due or owing, from a natural person
                                      3             to another person and were therefore “debt[s]” as that term is defined by
                                      4             California Civil Code §1788.2(d) and 15 U.S.C. 1692a(5), and a “consumer
                                      5             debt” as that term is defined by California Civil Code §1788.2(f).
                                      6          21. Sometime thereafter, Plaintiff allegedly fell behind in the payments
                                      7             allegedly owed on the alleged debt. Plaintiff currently takes no position as
                                      8             to the validity of the alleged debt.
                                      9          22. Subsequently, the alleged debt was allegedly assigned, placed, or otherwise
                                      10            transferred, to Defendant for collection activity.
                                      11         23. On or about September 15, 2014, Defendant sent or caused to be sent
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                                      12            Defendant’s initial written communications via U.S. Mail to Plaintiff.
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                                      13         24. This letters constitutes “debt collection” as that phrase is defined by Cal.
                                      14            Civ. Code § 1788.2(b) and a “communication” as that term is defined by 15
                                      15            U.S.C. § 1692a(2).
                                      16         25. Defendant’s initial written communication failed to include the required
                                      17            notice of debtor’s rights in violation of Cal. Civ. Code § 1812.700.
                                      18            According to Cal. Civ. Code § 1812.702, such a violation is considered a
                                      19            violation of the RFDCPA (Title 1.6C (commencing with Section 1788)).
                                      20            Thus, Defendant violated Cal. Civ. Code § 1788.
                                      21         26. By failing to provide said notice, the least sophisticated consumer is unable
                                      22            to adequately determine the extent of said consumer’s rights with regard to
                                      23            Defendant’s collection activity.
                                      24         27. Through this conduct, Defendant utilized false, deceptive and misleading
                                      25            representations to collect the alleged debt in violation of 15 U.S.C. § 1692e.
                                      26            This section is incorporated into the RFDCPA through Cal. Civ. Code §
                                      27            1788.17; thus, Defendant has also violation Cal. Civ. Code § 1788.17.
                                      28   ///


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                                      1       28. Through this conduct, Defendant utilized false representations and deceptive
                                      2          means to collect the alleged debt in violation of 15 U.S.C. § 1692e(10). This
                                      3          section is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17;
                                      4          thus, Defendant has also violation Cal. Civ. Code § 1788.17.
                                      5       29. As described herein, Defendant engaged in illegal collection activity with
                                      6          regard to Plaintiff’s alleged debt. Such activity constitutes violations of 15
                                      7          U.S.C. §§ 1692e; and, 1692e(10). In addition, Defendant also violated Cal.
                                      8          Civ. Code § 1788.17.
                                      9                                   CLASS ALLEGATIONS
                                      10      30. Plaintiff brings this class action on behalf of herself, and on behalf of all
                                      11         others similarly situated.
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                                      12      31. Plaintiff defines the FDCPA Class as:
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                                      13
                                                       (i) all persons (ii) who were sent a written
                                      14               communication by Defendant (iii) containing language
                                                       substantially in the form of the written communication
                                      15
                                                       attached as Exhibit A; (iv) to recover a consumer debt;
                                      16               (v) which was not returned undelivered by the United
                                                       States Postal Service; (vi) within one year prior to the
                                      17
                                                       filing of the Complaint in this action.
                                      18
                                              32. Plaintiff defines the RFDCPA Class as:
                                      19
                                                       (i) all persons with addresses within the State of
                                      20
                                                       California; (ii) who were sent a written communication
                                      21               by Defendant (iii) containing language substantially in
                                      22               the form of the written communication attached as
                                                       Exhibit A; (iv) to recover a consumer debt; (v) which
                                      23               was not returned undelivered by the United States Postal
                                      24               Service; (vi) within one year prior to the filing of the
                                                       Complaint in this action.
                                      25
                                              33. Plaintiff refers to the FDCPA Class and the RFDCPA Class jointly as “The
                                      26
                                                 Classes.”
                                      27
                                              34. Defendant and their employees or agents are excluded from the Classes.
                                      28

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                                      1       35. Plaintiff does not know the exact number of persons in the Classes, but
                                      2          believes them to be in the several hundreds, if not thousands, making joinder
                                      3          of all these actions impracticable.
                                      4       36. The identity of the individual members is ascertainable through Defendant’s
                                      5          and/or Defendant’s agents’ records or by public notice.
                                      6       37. There is a well-defined community of interest in the questions of law and
                                      7          fact involved affecting the members of the Class. The questions of law and
                                      8          fact common to the Class predominate over questions affecting only
                                      9          individual class members, and include, but are not limited to, the following:
                                      10         a) Whether Defendant violated the FDCPA as described herein;
                                      11         b) Whether Defendant violated the RFDCPA as described herein;
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                                      12         c) Whether members of the Class are entitled to the remedies under the
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                                      13            FDCPA;
                                      14         d) Whether members of the Class are entitled to the remedies under the
                                      15            RFDCPA;
                                      16         e) Whether members of the Class are entitled to declaratory relief;
                                      17         f) Whether members of the Class are entitled to injunctive relief;
                                      18         g) Whether members of the Class are entitled to an award of reasonable
                                      19            attorneys’ fees and costs of suit pursuant to the FDPCA;
                                      20         h) Whether members of the Class are entitled to an award of reasonable
                                      21            attorneys’ fees and costs of suit pursuant to the RFDPCA;
                                      22         i) Whether Defendant may satisfy Defendant’s affirmative defense of bona
                                      23            fide error with regard to Defendant’s violation of the FDCPA; and,
                                      24         j) Whether Defendant may satisfy Defendant’s affirmative defense of bona
                                      25            fide error with regard to Defendant’s violation of the RFDCPA.
                                      26      38. Plaintiff will fairly and adequately protect the interest of the Classes.
                                      27      39. Plaintiff has retained counsel experienced in consumer class action litigation
                                      28         and in handling claims involving unlawful debt collection practices.


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                                      1          40. Plaintiff’s claims are typical of the claims of the Classes, which all arise
                                      2             from the same operative facts involving unlawful collection practices.
                                      3          41. A class action is a superior method for the fair and efficient adjudication of
                                      4             this controversy.
                                      5          42. Class-wide damages are essential to induce Defendant to comply with the
                                      6             federal and State laws alleged in the Complaint.
                                      7          43. The interests of class members in individually controlling the prosecution of
                                      8             separate claims against Defendant is small because the maximum statutory
                                      9             damages in an individual action under the FDCPA and the RFDCPA is
                                      10            $1,000. Management of these claims is likely to present significantly fewer
                                      11            difficulties than those presented in many class claims, e.g., securities fraud.
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                                      12         44. Defendant has acted on grounds generally applicable to the classes, thereby
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                                      13            making appropriate final declaratory relief with respect to the class as a
                                      14            whole.
                                      15         45. Plaintiff contemplates providing notice to the putative class members by
                                      16            direct mail in the form of a postcard-type notice and via Internet website.
                                      17         46. Plaintiff requests certification of a hybrid class for monetary damages and
                                      18            injunctive relief.
                                      19                                            COUNT I
                                      20          VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                      21                                  15 U.S.C. §§ 1692 ET SEQ.
                                      22                                 [AGAINST ALL DEFENDANTS]
                                      23         47. Plaintiff incorporates by reference all of the above paragraphs of this
                                      24            Complaint as though fully stated herein.
                                      25         48. The foregoing acts and omissions constitute numerous and multiple
                                      26            violations of the FDCPA, including but not limited to each and every one of
                                      27            the above-cited provisions of the FDCPA, 15 U.S.C. §§ 1692 et seq.
                                      28   ///


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                                      1       49. As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                      2          any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages
                                      3          for a knowing or willful violation in the amount up to $1,000.00 pursuant to
                                      4          15 U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs
                                      5          pursuant to 15 U.S.C. § 1692k(a)(3) from each Defendants individually.
                                      6                                        COUNT II
                                      7       VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                      8                              Cal. Civ. Code § 1788, et seq.
                                      9                              [AGAINST ALL DEFENDANTS]
                                      10      50. Plaintiff incorporates by reference all of the above paragraphs of this
                                      11         Complaint as though fully stated herein.
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                                      12      51. The foregoing acts and omissions constitute numerous and multiple
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                                      13         violations of the RFDCPA.
                                      14      52. As a result of each and every violation of the RFDCPA, Plaintiff is entitled
                                      15         to any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
                                      16         damages for a knowing or willful violation in the amount up to $1,000.00
                                      17         pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorneys fees and
                                      18         costs pursuant to Cal. Civ. Code § 1788.30(c) from each Defendant
                                      19         individually.
                                      20      53. In addition, Plaintiff and the members of the class request an award of
                                      21         damages to the class in amount of $500,000 or 1 percent of the net worth of
                                      22         Defendant pursuant to Cal. Civ. Code § 1788.17.
                                      23                                  PRAYER FOR RELIEF
                                      24   WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                                      25         • That this action be certified as a class action on behalf of The Classes and
                                      26            Plaintiff be appointed as the representatives of The Class;
                                      27         • An award of actual damages, in an amount to be determined at trial,
                                      28            pursuant to Cal. Civ. Code § 1788.30(a), for each plaintiff and putative


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                                      1              class member;
                                      2           • An award of actual damages, in an amount to be determined at trial,
                                      3              pursuant to 15 U.S.C. § 1692k(a)(1), against each named Defendant
                                      4              individually;
                                      5           • An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
                                      6              § 1788.30(b), for each plaintiff and putative class member;
                                      7           • An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
                                      8              1692k(a)(2)(A), against each named Defendant individually;
                                      9           • An award of costs of litigation and reasonable attorney’s fees, pursuant
                                      10             to Cal. Civ. Code § 1788.30(c);
                                      11          • An award of costs of litigation and reasonable attorney’s fees, pursuant
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                                      12             to 15 U.S.C. § 1692k(a)(3), against each named Defendant individually;
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                                      13          • Injunctive relief in the form of an order requiring Defendant to disgorge
                                      14             all ill-gotten gains and awarding Plaintiff and The Class full restitution of
                                      15             all monies wrongfully acquired by Defendant by means of such unfair
                                      16             and unlawful conduct;
                                      17          • That the Court preliminarily and permanently enjoin Defendant from
                                      18             sending further written communications stating that a derogatory account
                                      19             has been placed on a consumer’s permanent credit report; and,
                                      20          • Any and all other relief that this Court deems just and proper.
                                      21                                      TRIAL BY JURY
                                      22       54. Pursuant to the seventh amendment to the Constitution of the United States
                                      23          of America, Plaintiff is entitled to, and demands, a trial by jury.
                                      24
                                            Dated: November 25, 2014                                      Respectfully submitted,
                                      25
                                      26                                                        KAZEROUNI LAW GROUP, APC
                                                                                               By: ___/s/ Matthew M. Loker___
                                      27
                                                                                                     MATTHEW M. LOKER, ESQ.
                                      28                                                              ATTORNEY FOR PLAINTIFF

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